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               APPENDIX C
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17   and OTTOMOTTO LLC

18                              UNITED STATES DISTRICT COURT

19                           NORTHERN DISTRICT OF CALIFORNIA

20                                     SAN FRANCISCO DIVISION

21   WAYMO LLC,                                       Case No. 3:17-cv-00939-WHA
22                        Plaintiff,                  DEFENDANTS UBER
                                                      TECHNOLOGIES, INC. AND
23          v.                                        OTTOMOTTO LLC’S OBJECTIONS TO
                                                      WAYMO’S FOURTH AMENDED
24   UBER TECHNOLOGIES, INC.,                         WITNESS LIST
     OTTOMOTTO LLC; OTTO TRUCKING
25   LLC,
                                                      Trial Date: February 5, 2018
26                        Defendants.
27
28

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 1           Waymo’s witness list includes many witnesses not included on any of its timely

 2   Rule 26(a)(1) disclosures. 1 For most of the witnesses whom Waymo did disclose under Rule 26,
                                 0F




 3   Waymo has drastically expanded the topics on which those witnesses are expected to testify

 4   beyond that which was timely disclosed. Defendants’ specific objections are summarized below

 5   and a chart is attached as Exhibit A to assist the Court. 21F




 6                                    Witnesses Not Previously Disclosed
 7           Prabir Adarkar

 8           Defendants object to the calling of Mr. Adarkar, an Uber employee who was never

 9   previously disclosed in any of Waymo’s timely Rule 26 disclosures. Mr. Adarkar was not timely

10   disclosed, in violation of FRCP 26(a)(1), and should be excluded pursuant to FRCP 37(c)(1).

11           Shawn Bananzadeh

12           Defendants object to the calling of Mr. Bananzadeh, a Waymo employee who was never

13   previously disclosed in any of Waymo’s timely Rule 26 disclosures. Mr. Bananzadeh was not

14   timely disclosed, in violation of FRCP 26(a)(1), and should be excluded pursuant to FRCP

15   37(c)(1). Waymo improperly added him to its “will call” list even though this Court has made it

16   clear that if he is allowed to testify at all, if would only be in rebuttal: “If they use the 30(b)(6)

17   deposition in any way before the jury, through an expert or directly read in, then he gets to come

18   back and explain it in your rebuttal case, but not in your case-in-chief. In other words, you can’t

19   use him in your case-in-chief because he’s a new witness.” (Tr., 10/26/17, 12:1-7.) Waymo’s

20   motion to supplement its witness list with Mr. Adarkar and Mr. Bananzadeh, and Defendants’

21   opposition thereto, are pending before the Court.

22

23

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             1
25              Waymo served a new set of initial disclosures on January 19, 2018---the same day it
     served its Fourth Amended Witness list and two weeks before trial. These disclosures are
26   untimely, as they come almost seven months after the Court’s June 21, 2017 deadline for all
     initial disclosures, and should be stricken. See Dkt. 625 at 71-72.
27            2
                These objections do not impact Defendants’ ability to call any of the following witnesses
     that it has disclosed in its initial disclosures or learned about through Waymo’s discovery on the
28   topics that Defendants have identified in their witness lists.

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 1          Kristin Gudjonsson 3, Travis Bellanger, David Lawee, John Krafcik, Chelsea Bailey,
                                 2F




            Gerard Dwyer, Don Harrison, Jennifer Haroon, and Sasha Zbrozek
 2

 3          Defendants object to the calling of these Waymo employees because they were not timely
 4   disclosed, in violation of FRCP 26(a)(1), and should be excluded pursuant to FRCP 37(c)(1).
 5   Waymo’s failure to disclose them was not substantially justified. Moreover, Waymo knew that
 6   many of these employees were centrally involved in Mr. Levandowski’s termination or the
 7   ensuing investigation yet failed to timely disclose them. In fact, the failure to disclose some
 8   employees involved in the investigation, such as Sasha Zbrozek, is notable, considering the
 9   evidence they possess undercutting Waymo’s case.
10          Bill Gurley
11          If Mr. Gurley is permitted to testify, the Court has limited his testimony pursuant to
12   Docket No. 1885, as follows: “Bill Gurley may testify as to his own percipient knowledge
13   regarding his tenure as a member of Uber’s board of directors (and possibly other facts) but may
14   not speculate about matters outside of his percipient knowledge. No evidence or argument about
15   Benchmark’s lawsuit against Travis Kalanick will be permitted, except that defendants may use
16   that lawsuit for impeachment purposes.” Dkt. No. 1885 at 4.
17          Arturo Gonzalez
18          Defendants object to the calling of Mr. Gonzalez because he was not timely disclosed, in
19   violation of FRCP 26(a)(1), and should be excluded pursuant to FRCP 37(c)(1).
20          Defendants further object to the anticipated testimony of Mr. Gonzalez pursuant to FRE
21   403 because the prejudice his presence as a witness would cause Uber and Ottomotto
22   substantially outweighs any probative value of his testimony. The Court has already suggested
23   that as trial counsel, Mr. Gonzalez should not be associated with the legal work done in
24   connection with the Uber-Otto transaction. July 26, 2017 Hr’g. Tr. at 15-16. Moreover,
25   Mr. Gonzalez should be excluded under FRE 602 because he was not involved in the underlying
26

27
28          3
                See below regarding objections to Mr. Brown as an “expert.”

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 1   events of the dispute and therefore any testimony he could offer would not be relevant under FRE

 2   402.

 3           Neel Chatterjee

 4           Defendants object to the calling of Mr. Chatterjee because he was not timely disclosed, in

 5   violation of FRCP 26(a)(1), and should be excluded pursuant to FRCP 37(c)(1).

 6           Defendants further object to the anticipated testimony of Mr. Chatterjee, because the

 7   prejudice his presence as a witness would cause Uber and Ottomotto substantially outweighs any

 8   probative value of his testimony. Otto Trucking is no longer a defendant in this case, and

 9   Goodwin Procter has never been Uber’s or Ottomotto’s counsel. Moreover, Waymo seeks to call

10   Mr. Chatterjee on litigation-related topics such as the “chain of custody of Anthony

11   Levandowski’s personal laptops,” which is unrelated to the underlying events of the dispute and

12   would pose a danger of confusing the issues before the jury.

13           Matthew Blattmachr

14           Defendants object to the calling of Mr. Blattmachr because he was not timely disclosed, in

15   violation of FRCP 26(a)(1). The proposed subject of his testimony is Mr. Levandowski’s

16   ownership of other companies, including presumably including any links to Tyto LiDAR. But

17   Waymo has been pursuing Mr. Levandowski’s links to Tyto LiDAR since close to the inception

18   of this case (if not prior to it) and its failure to disclose Mr. Blattmachr is not substantially

19   justified.

20                    Witnesses For Whom Waymo Seeks to Introduce New Topics
21           John Bares

22           Defendants object to the calling of Mr. Bares on the subject of “the acquisition of Otto;

23   and Mr. Levandowski’s employment milestones” because these subjects were not identified by

24   Waymo in its timely initial disclosures. The omission is not substantially justified. In fact,

25   Waymo took Mr. Bares’s deposition prior to the deadline for initial disclosures and questioned

26   him on the very topics it now seeks to include in his trial testimony.

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 1          Gary Brown 4  3F




 2          Defendants object to the questioning of Mr. Brown on the subject of “Google/Waymo’s

 3   reasonable efforts to maintain the secrecy of its electronic systems, digital document storage

 4   repositories, and computer networks, including but not limited to the SVN server.” Brown is

 5   Waymo’s employee and it chose to only disclose him on the topic of Waymo’s forensic

 6   investigation into Mr. Levandowsi, Mr. Kshirsagar, and Mr. Raduta, while choosing to disclose

 7   another witness on the topic of its efforts to maintain secrecy, Mr. Janosko. Waymo’s failure to

 8   disclose Mr. Brown on this topic is not substantially justified. Moreover, Mr. Brown’s deposition

 9   testimony reflects that he lacks personal knowledge about many of these subjects.

10          Dmitri Dolgov

11          Defendants object to the calling of Mr. Dolgov on the subject of “the Chauffeur Bonus

12   Plan.” Mr. Dolgov is Waymo’s employee and it chose to only disclose him for other topics.

13   Waymo’s failure to disclose this topic is not substantially justified.

14          Pierre-Yves Droz

15          Defendants object to the calling of Mr. Droz regarding “the confidentiality of its designs

16   and measures to keep them secret, the contents of Waymo’s SVN server, and communications

17   with Anthony Levandowski regarding Uber and formation of Otto.” Mr. Droz is a Waymo

18   employee and Waymo only disclosed Mr. Droz on the topics of Waymo’s “development and

19   operation of Waymo’s self-driving cars and autonomous vehicle technology, including LiDAR;

20   [and] the design and development of certain of Waymo’s asserted trade secrets.” The newly

21   proposed topics were known as subjects of this litigation to Waymo at the time of the disclosures

22   and the failure to disclose them is not substantially justified.

23          John Gardner

24          Defendants object to Waymo questioning Mr. Gardner about “Ottomotto and Otto

25   Trucking; the Uber-Otto acquisition; [and] Mr. Levandowski’s businesses,” or about “destruction

26   of relevant evidence.” Before the initial disclosures were due, Waymo knew that Mr. Gardner

27
28          4
                See below regarding objections to Mr. Brown as an “expert.”

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 1   served as counsel for Mr. Levandowski in connection with the Otto acquisition and related due

 2   diligence and as a personal attorney for Mr. Levandowski. Its failure to disclose these new topics

 3   is not substantially justified. Moreover, testimony about Mr. Levandowski’s “businesses” should

 4   be excluded to the extent it is irrelevant or unfairly prejudicial. See FRE 402, 403.

 5          Defendants also object to Waymo questioning Mr. Gardner about “Tyto LiDAR,” a topic

 6   disclosed for this witness for the first time on November 15, 2017. Waymo has been pursuing the

 7   issue of Mr. Levandowski’s links to Tyto since at least April 2017—well before the initial

 8   disclosures were due. Its failure to disclose Mr. Gardner on the topic is not substantially justified.

 9          Dan Gruver, Gaetan Pennecot, Asheem Linaval, and Don Burnette

10          These witnesses are current Uber engineers who formerly worked at Waymo. They were

11   initially disclosed as potential witnesses by Waymo only concerning “matters that concern

12   misappropriation of trade secrets.” Waymo now seeks to add for each of these witnesses

13   testimony about “the development of Waymo’s self-driving car technology, including its

14   LIDAR.” Waymo should be precluded from eliciting testimony beyond the disclosed topic of the

15   specific trade secrets alleged to have been misappropriated. Had Waymo wanted to question its

16   former employees about their work for Waymo, it timely could have and should have disclosed

17   that subject. Waymo’s failure to disclose these topics is not substantially justified.

18          Defendants further object to the inclusion of testimony about Waymo’s “planner

19   software” with respect to Mr. Burnette. Software is not at issue in this case; permitting testimony

20   on this topic would cause unfair prejudice and pose a danger of confusing the issues before the

21   jury. See 10/26/2017 Hr’g Tr. at 40 (THE COURT: “When we get into code, it’s going to be

22   harder and harder for the jury to put their arms around this case.”).

23          Jeff Holden

24          Defendants object to Waymo’s questioning of Mr. Holden regarding Uber’s “autonomous

25   vehicle program before the Otto acquisition; negotiations with Mr. Levandowski regarding the

26   acquisition; Mr. Levandowski’s consulting work; facts surrounding Mr. Levandowksi’s continued

27   employment with Uber and termination” because these were not timely identified in Waymo’s

28   initial disclosures. Waymo only disclosed Mr. Holden on the topic of “matters that concern

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 1   misappropriation of trade secrets” but was aware of Mr. Holden’s role as a business person

 2   involved with the Otto acquisition well before the deadline for initial disclosures. Waymo’s

 3   failure to disclose these topics is not substantially justified.

 4           Travis Kalanick

 5           Defendants object to Waymo questioning Mr. Klanick regarding the following topics:

 6                   Uber’s solicitation of Google and Waymo employees; discussions
                     with, knowledge about, Levandowksi, discussions with the Board
 7                   and Benchmark partners concerning the Otto acquisition,
                     Mr. Levandowski, and the relationship between the facts
 8                   surrounding this case and his termination; negotiations with
                     Mr. Levandowski regarding the founding of Ottomotto and Otto
 9                   Trucking, and Otto acquisition; the Uber-Otto acquisition;
                     solicitation of Google/Waymo employees; . . . Levandowski's
10                   employment and continued employment at Uber; and destruction of
                     relevant evidence.
11

12   Waymo only disclosed Mr. Kalanick as a potential source of testimony regarding the broad and

13   unhelpful topic of “matters that concern misappropriation of trade secrets.” Certainly, given his

14   role, Waymo knew or should have known Mr. Kalanick’s involvement in the acquisition of Otto

15   and his negotiations with Mr. Levandowski. Waymo’s failure to disclose these topics is not

16   substantially justified.

17           Moreover, any testimony regarding solicitation of Google/Waymo employees should also

18   be excluded under Rules 402 and 403 because it is irrelevant, unfairly prejudicial, and will tend to

19   confuse the jury.

20           Moreover, any testimony about Benchmark should be excluded pursuant to FRE 403 for

21   the reasons stated in Defendants’ motion in limine (No. 24). Dkt. No. 1548.

22           Anthony Levandowski

23           In addition to Defendants’ already-briefed objections to the calling of Mr. Levandowski as

24   unfairly prejudicial, Defendants object to Waymo questioning Mr. Levandowski on the following

25   topics for which he was not disclosed in Waymo’s timely initial disclosures:

26                   development of Waymo’s self-driving car technology, including its
                     LIDAR designs and the development of Waymo’s trade secrets,
27                   engineering practices of Waymo and the LIDAR team regarding the
                     confidentiality of its designs and measures to keep them secret, his
28                   performance at Waymo, the contents of Waymo’s SVN server, and

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 1                   communications with Google employees regarding Uber and
                     formation of Otto; Uber's driverless car program; Uber's solicitation
 2                   of Google and Waymo employees; the relationship between the
                     facts surrounding this case and his termination; negotiations
 3                   regarding the founding of Ottomotto and Otto Trucking, and Otto
                     acquisition; the Uber-Otto acquisition; . . . Levandowski's
 4                   employment and continued employment at Uber; and destruction of
                     relevant evidence. Waymo further identifies those subjects
 5                   identified in Waymo's Statement Regarding Questions it Intends to
                     Ask Anthony Levandowski at Trial. Dkt. 835.
 6

 7   Waymo only identified Mr. Levandowski as a potential source of testimony regarding “matters

 8   that concern misappropriation of trade secrets.” Given its allegations against Mr. Levandowski in

 9   the Complaint and Motion for Preliminary Injunction, Dkts. 23 & 24, Waymo knew that

10   Mr. Levandowski had potentially relevant information about these other topics. Waymo’s failure

11   to disclose these topics is not substantially justified.

12           Moreover, any testimony regarding solicitation of Google/Waymo employees should also

13   be excluded under Rules 402 and 403 because it is irrelevant, unfairly prejudicial, and will tend to

14   confuse the jury.

15           Brian McClendon, Cameron Poetszcher, and Nina Qi

16           Defendants object to the questioning of these witnesses regarding any topics that do not

17   directly concern “matters concerning the misappropriation of trade secrets,” the only disclosed

18   subject for these witnesses. Although the new subjects for each witness identified by Waymo

19   vary slightly, they have been all generally designated to testify about such topics as:

20               •   “Negotiations with Levandowski regarding founding Ottomotto and Otto
                     Trucking”;
21               •   “Contacts between Uber and Mr. Levandowski regarding the formation of
                     Ottomotto/Otto Trucking”;
22
                 •   “Uber’s solicitation of Google/Waymo employees”;
23
                 •   “The benefits Uber would obtain via those acquisitions”;
24
                 •   “the Uber-Otto acquisition”;
25
                 •   “Levandowski's employment and continued employment at Uber”;
26
                 •   “discussions with, knowledge about, Levandowksi”;
27               •   “discussions with the Board and Benchmark partners concerning the Otto
                     acquisition, Mr. Levandowski”; and
28

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 1                 •   “the relationship between the facts surrounding this case and his termination.”

 2    From well before the date initial disclosures were due, Waymo knew that each of these

 3    individuals was involved in a business role and the Otto acquisition. Its failure to timely identify

 4    these topics is not substantially justified.

 5            Moreover, any testimony regarding solicitation of Google/Waymo employees should also

 6    be excluded under Rules 402 and 403 because it is irrelevant, unfairly prejudicial, and will tend to

 7    confuse the jury.

 8            Moreover, any testimony about Benchmark should be excluded pursuant to FRE 403 for

 9    the reasons stated in Defendants’ motion in limine (No. 24). Dkt. No. 1548.

10            Rhian Morgan

11            Defendants object to Waymo’s questioning Ms. Morgan regarding the “founding and

12    business of Ottomotto and Otto Trucking [and] Uber’s acquisition of Otto.” Waymo only

13    disclosed Ms. Morgan as a potential source of testimony regarding “matters that concern

14    misappropriation of trade secrets.” Waymo’s failure to disclose these topics is not substantially

15    justified.

16            Lior Ron

17            Defendants object to Waymo questioning Mr. Ron about the “founding of Ottomotto and

18    Otto Trucking; the Uber-Otto acquisition” and “the business and product development of

19    Ottomotto and Otto trucking.” Before the initial disclosures were due, Waymo knew Mr. Ron

20    was a co-founder of Otto and Otto Trucking and should have disclosed these topics then.

21    Waymo’s failure to disclose these topics is not substantially justified.

22            Ognen Stojanovski

23            Defendants object to Waymo’s questioning Mr. Stojanovski about Tyto LiDAR, Otto’s

24    acquisition of Tyto, or communications with Mr. Levandowski about Tyto. Waymo did not

25    disclose these topics in its timely initial disclosures. Waymo has been pursuing the issue of

26    Mr. Levandowski’s links to Tyto since at least April 2017. Waymo’s failure to disclose these

27    topics for Mr. Stojanovski is not substantially justified.

28

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 1            Bryan Salesky

 2            Defendants object to the calling of Mr. Salesky regarding “Mr. Levandowski’s

 3    performance as a Google/Waymo employee” and “certain of Mr. Levandowski’s communications

 4    with Uber prior to his departure from Google/Waymo.” Mr. Salesky was only disclosed by

 5    Waymo as a witness having information about “matters that concern the development and

 6    operation of Waymo’s self-driving cars and autonomous vehicle technology” and “matters that

 7    concern misappropriation of trade secrets by Defendants.” Mr. Salesky was a senior Waymo

 8    employee during the events in question and the newly proposed topics were known as subjects of

 9    this litigation to Waymo at the time its initial disclosures were due. Waymo’s failure to disclose

10    these topics is not substantially justified.

11            Chris Urmson

12            Defendants object to the calling of Mr. Urmson regarding “Mr. Levandowski’s

13    performance as a Google/Waymo employee and circumstances surrounding his termination from

14    Google; Chauffer Bonus Plan” and “Waymo valuation(s).” Mr. Urmson was only disclosed by

15    Waymo as a witness having information about “matters that concern the development and

16    operation of Waymo’s self-driving cars and autonomous vehicle technology.” Mr. Urmson was a

17    senior Waymo employee—for a period the most senior—during the events in question, and the

18    newly proposed topics were known as subjects of this litigation to Waymo at the time its initial

19    disclosures were due. Waymo’s failure to disclose these topics is not substantially justified.

20            Salle Yoo

21            Defendants object to Waymo’s questioning Ms. Yoo about the “continued employment

22    and termination of Anthony Levandowski.” Waymo did not include this as a topic for Ms. Yoo in

23    its timely initial disclosures despite being aware as of May 30, 2017, that Ms. Yoo signed the

24    letter terminating Mr. Levandowski. 5 Waymo’s failure to disclose this topic is not substantially
                                             4F




25    justified. Moreover, any proposed testimony on the topic of the Stroz Report would be

26
              5
                In addition to being produced in this case, the termination and letter were widely
27    reported in news. See https://www.washingtonpost.com/news/the-switch/wp/2017/05/30/uber-
      fires-star-engineer-anthony-levandowski-at-the-center-of-self-driving-car-
28    battle/?utm_term=.58c08e1e3232

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 1    unnecessarily cumulative under Rule 403. Finally, Defendants object to the newly-disclosed

 2    topic for Ms. Yoo of “Uber management’s lack of deference to the legal department or legal

 3    advice.” Not only was this topic not timely disclosed, but it would almost certainly seek to

 4    invade and improperly draw objections regarding the attorney-client privilege and should

 5    therefore be excluded under FRE 403.

 6           Rudy Kim and Eric Tate

 7           Defendants object to the calling of Mr. Kim and Mr. Tate because their testimony will be

 8    cumulative and waste the jury’s time. See FRE 403.

 9           Adam Bentley

10           Defendants object to Mr. Bentley’s testimony as unduly cumulative and likely to waste

11    the jury’s time. See FRE 403.

12           Max Levandowski and Daniel Ratner

13           Defendants object to the calling of Mr. Levandowksi and Mr. Ratner for any subjects

14    beyond the scope permitted by the Court in its October 26, 2017 ruling on Waymo’s Motion to

15    Amend. See 10/26/2017 Hr’g at 13:9-14 (“You can add them to your list for trial, but it’s limited

16    to testimony that came out of the Stroz report or something that was newly produced in that time

17    period after the Stroz report. And you cannot get off into other subjects in your case-in-chief.”).

18           Undisclosed Damages Testimony

19           Waymo’s November 12, 2017 Offer of Proof Regarding Reasonable Royalty Damages

20    suggests that ten witnesses who were either not disclosed or disclosed for other purposes by

21    Waymo will now become Waymo’s damages witnesses. These witnesses include John Krafcik,

22    Dmitry Dolgov, Jennifer Haroon, Dan Chu, Nina Qi, Prabir Adarkar, Pierre-Yves Droz,

23    Lambertus Hesselink, and Jeff Holden. Defendants object to any such testimony that goes

24    beyond the witnesses and subjects timely disclosed pursuant to FRCP 26(a)(1).

25           30(b)(6) Witnesses

26           Defendants also object to any of Waymo’s witnesses testifying about “the subjects of the

27    Rule 30(b)(6) topic(s) for which [they were] designated as Waymo’s corporate witness” to the

28    extent those topics go beyond the subjects disclosed in Waymo’s timely initial disclosures. In

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 1    addition to being untimely, there is no guarantee that these witnesses even have personal

 2    knowledge over those subjects. See Cooper v. United Air Lines, Inc., 82 F. Supp. 3d 1084, 1096

 3    (N.D. Cal. 2015). The witnesses for which these subjects were added are Gary Brown, Dan Chu,

 4    Dmitri Dolgov, Pierre-Yves Droz, David Lawee, and Jennifer Harroon.

 5           Destruction of Relevant Evidence

 6           Waymo has added as a topic for numerous witnesses “the destruction of relevant

 7    evidence.” Any suggestion that an Uber witness destroyed relevant evidence should be excluded

 8    under FRE 403.

 9                         New Witnesses and Topics from December Discovery

10           Richard Jacobs’ Allegations

11           Defendants object to Waymo’s efforts to inject the Richard Jacobs’ allegations into a trial

12    about 8 specific alleged trade secrets. For the reasons set forth in Defendants’ response to

13    Waymo’s Offer of Proof regarding the Jacobs’ allegations, evidence and testimony about his

14    allegations, including those relating to ephemeral communications, non-attributable devices, the

15    improper use of the attorney client privilege, Uber’s competitive intelligence practices, Uber’s

16    knowledge of Jacobs’ allegations, Uber’s investigation into Jacobs’ allegations, and Uber’s

17    settlement with Jacobs, should be excluded under FRE 402 and 403 and because of the significant

18    evidentiary problems with much of the evidence supporting Waymo’s Offer of Proof. See Dkt.

19    No. 2503 & Appendix A. The new witnesses added for the Jacobs’ allegations include Mat

20    Henley, Richard Jacobs, Joe Spiegler, Rey Allie, Nick Gicinto, Jake Nocon, Ed Russo, Joe

21    Sullivan, and Craig Clark. The previously disclosed witnesses for which the new topics were

22    added include Travis Kalanick, Angela Padilla, Lior Ron, Justin Suhr, Eric Tate, Salle Yoo, and

23    Arturo Gonzalez.

24           Ephemeral Messaging

25           Defendants further object to Waymo’s efforts to add new witnesses and expand the topics

26    for existing witnesses on the subject of Uber’s use of ephemeral messaging. Waymo was aware

27    in June 2017 that Uber used ephemeral communications but chose not to make it an issue in this

28    litigation. Dkt. No. 2503 at 2-3, 12-13. The new witnesses on the topic of ephemeral messaging

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 1    include Mat Henley, Richard Jacobs, Rey Allie, Nick Gicinto, Jake Nocon, Ed Russo, Joe

 2    Sullivan, and Craig Clark. The previously disclosed witness for which the topic of ephemeral

 3    communications was added is Lior Ron. Mr. Ron was even asked about his use of ephemeral

 4    communications to communicate with Mr. Levandowski at his deposition in June before the

 5    deadline for amendment of initial disclosures. See Dkt. No. 2503 at 13. Waymo’s failure to

 6    disclose these witnesses and the topic of ephemeral communications violates FRCP 26(a)(1) and

 7    should be excluded pursuant to FRCP 37(c)(1).

 8           For the same reasons, Defendants object to Waymo’s attempt to add one of its own

 9    employees, Scott Johnston, as a witness to talk about Waymo’s use of ephemeral

10    communications. Waymo had an opportunity to make ephemeral communications an issue in this

11    case as far back as June 2017 and chose not to do so. Its failure to disclose Mr. Johnston violates

12    FRCP 26(a)(1) and he should be excluded pursuant to FRCP 37(c)(1).

13                                                  Experts
14           Paul French and Bruce Hartley

15           Defendants object to any testimony from Waymo’s “rebuttal” expert reports from French

16    and Hartley because their purpose is not “solely to contradict or rebut evidence on the same

17    subject matter identified by another [party’s expert].” Fed. R. Civ. P. 26(a)(2)(D)(ii). Rebuttal

18    expert reports “are not . . . the proper place for presenting new arguments” and must be limited to

19    the opposition report’s subject matter. R&O Const. Co. v. Rox Pro Int’l Grp., Ltd., No. 2:09-CV-

20    01749-LRH-LR, 2011 WL 2923703, at *2 (D. Nev. July 18, 2011). But instead of rebutting

21    Laykin’s report, French’s and Hartley’s reports present new arguments on Google’s reasonable

22    efforts to protect the alleged trade secrets’ secrecy; a necessary element to trade secret

23    misappropriation. Kirola v. City & Cty. of San Francisco, No. C-07-3685 SBA (EMC), 2010 WL

24    373817, at *2 (N.D. Cal. Jan. 29, 2010) (“[T]his expert opinion could not be considered rebuttal

25    evidence because its purpose was to support an element of the plaintiffs' . . . claim.”). They also

26    provide additional information regarding the reliability of the forensic investigation conducted by

27    Gary Brown and Kristinn Gudjonsson and the soundness of the conclusions Mr. Brown and

28    Mr. Gudjonsson reached. Any testimony concerning these opinions, on which Waymo bears the

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 1    burden of proof, should have been disclosed in Waymo’s opening reports and are untimely on

 2    rebuttal. Preclusion of the French and Hartley’s testimony on these topics is “automatic and

 3    mandatory” since Waymo cannot show that their failure to comply was “justified or harmless.”

 4    R&O, 2011 WL 2923703, at *3.

 5              Lambertus Hesselink

 6              Defendants object to Dr. Hesselink’s testimony found in paragraphs 65 to 72 of his expert

 7    report as set forth in Otto Trucking’s Daubert motion found at Docket No. 1610. Dr. Hesselink’s

 8    opinion on Waymo’s protections of its trade secrets is merely a recitation of information found in

 9    the declarations of fact witnesses, one of whom admits that he does not have any personal

10    knowledge of the SVN server and that the other information he attested to does not apply to that

11    server.

12              Gary Brown and Kristinn Gudjonsson

13              In addition to the objections stated above, Defendants object to any expert testimony by

14    Gary Brown or Kristinn Gudjonsson for the reasons stated in Otto Trucking’s Daubert motion

15    found at Docket No. 1620. Mr. Brown and Mr. Gudjonsson’s opinions are unreliable and

16    misleading, and they do not have the requisite expertise to opine and testify about the SVN

17    server.

18                                          Testimony by Deposition
19              Waymo has listed all or nearly all of the non-Waymo witnesses as potential witnesses to

20    be called by deposition. Defendants object to each and every witness to the extent they do not

21    meet the requirements of Federal Rule of Civil Procedure 32.

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 1    Dated: January 23, 2018                    MORRISON & FOERSTER LLP
                                                 BOIES SCHILLER FLEXNER LLP
 2                                               SUSMAN GODFREY LLP

 3

 4                                               By: /s/ William Carmody
                                                     WILLIAM CARMODY
 5
                                                 Attorneys for Defendants
 6                                               UBER TECHNOLOGIES, INC. and
                                                 OTTOMOTTO LLC
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                        EXHIBIT A TO DEFENDANTS’ OBJECTIONS TO WAYMO’S FOURTH AMENDED WITNESS LIST

        Witness            Subject of Initial Disclosure                             Subject of Trial Testimony                                   Objections
                                                                             Will Call List

                                                                 Mr. Adarkar may be asked to provide non-cumulative testimony
                                                                 regarding Uber’s financial forecasts for autonomous vehicles,
                                                                 and Uber’s competitive relationship with Waymo, including its        FRCP 26(a)(1) & 37(c)(1)
    Prabir Adarkar     Not Disclosed                             willingness to cut prices to compete with Waymo.                     FRE 403
                                                                                                                                      Per Court’s ruling, if Mr.
                                                                                                                                      Bananzadeh is allowed to testify
                                                                                                                                      at all, it will be as a rebuttal
                                                                 Mr. Bananzadeh will provide noncumulative testimony regarding        witness only—not in Waymo’s
                                                                 costs of development of, and management of Waymo’s self-             case-in-chief. See Tr. 10/26/17;
                                                                 driving cars and autonomous vehicle technology. Waymo further        12:1-7.
    Shawn                                                        identifies the subjects of the Rule 30(b)(6) topic(s) for which he   FRCP 26(a)(1) & 37(c)(1)
    Bananzadeh         Not Disclosed                             was designated as Waymo’s corporate witness.                         FRE 403

                                                                 Mr. Bares will be asked to provide noncumulative testimony
                                                                 concerning Defendants misappropriation of Waymo’s trade
                                                                 secrets, including their acquisition, use and disclosure, and the
                       Matters that concern misappropriation     lack of independent development; acquisition of Otto; and Mr.
    John Bares         of trade secrets.                         Levandowski’s employment milestones. 1   0F                          FRCP 26(a)(1) & 37(c)(1)

                                                                 Mr. Brown will provide non-cumulative testimony concerning
                                                                 Google/Waymo’s forensic investigation into misappropriation of
                                                                 trade secrets, particularly analysis of log data and hardware;
                                                                 Google/Waymo’s reasonable efforts to maintain the secrecy of its
                       Matters that concern the forensic         electronic systems, digital document storage repositories, and
                       investigation into misappropriation of    computer networks, including but not limited to the SVN server.
                       trade secrets by Defendants via           Waymo further identifies the subjects of the Rule 30(b)(6)           FRCP 26(a)(1) & 37(c)(1)
                       Anthony Levandowski, Sameer               topic(s) for which he was designated as Waymo’s corporate            FRE 602
    Gary Brown         Kshirsagar, and Radu Raduta.              witness.                                                             FRE 702

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 Where only a portion of a witnesses’ testimony is subject to objection, the objectionable portions are highlighted in yellow. If there is no yellow highlighting,
Defendants object to the entirety of the proposed trial testimony.

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     Witness            Subject of Initial Disclosure                             Subject of Trial Testimony                                Objections


                                                              Mr. Chu will provide non-cumulative testimony regarding
                                                              matters that concern Waymo, including investment in,
                                                              development of, and management of Waymo’s self-driving cars
                    Matters that concern Waymo,               and autonomous vehicle technology; the current and future nature
                    including investment in, development      of the relevant markets and competition in the relevant markets,
                    of, and management of Waymo’s self-       and other issues related to irreparable harm and damages suffered
                    driving cars and autonomous vehicle       by Waymo, Waymo’s short-term and long-term business plans,
                    technology; the current and future        Waymo’s early rider program in Phoenix, Waymo’s launch of its
                    nature of the relevant markets and        TaaS service, and Waymo’s understanding of the TaaS market
                    competition in the relevant markets,      (including competition in that market and Waymo’s competitive
                    and other issues related to irreparable   advantages). Waymo further identifies the subjects of the Rule
                    harm and damages suffered by              30(b)(6) topic(s) for which he was designated as Waymo’s             FRCP 26(a)(1) & 37(c)(1)
 Dan Chu            Waymo.                                    corporate witness.                                                   FRE 602

                                                              Dr. Dolgov will provide non-cumulative testimony regarding the
                    Matters that concern Waymo,               development of Waymo’s self-driving car technology, including
                    including the history, development,       its LIDAR designs and associated self-driving vehicle software
                    and management of Waymo’s self-           development; the development of certain of Waymo’s trade
                    driving cars and autonomous vehicle       secrets, Waymo’s engineering practices, and the Chauffeur
                    technology; the design and                Bonus Plan. Waymo further identifies the subjects of the Rule
                    development of certain of Waymo’s         30(b)(6) topic(s) for which he was designated as Waymo’s             FRCP 26(a)(1) & 37(c)(1)
 Dmitri Dolgov      asserted trade secrets                    corporate witness.                                                   FRE 602

                    Matters that concern the development      Mr. Droz will provide non-cumulative testimony regarding the
                    and operation of Waymo’s self-            development of Waymo’s self-driving car technology, including
                    driving cars and autonomous vehicle       its LIDAR designs and the development of Waymo’s trade
                    technology, including LiDAR; the          secrets, time to develop Waymo’s LIDAR designs and trade
                    design and development of certain of      secrets, engineering practices of Waymo and the LIDAR team
                    Waymo’s asserted trade secrets;           regarding the confidentiality of its designs and measures to keep
                    conception, reduction to practice, and    them secret, the contents of Waymo’s SVN server, and
                    patenting of the inventions of U.S.       communications with Anthony Levandowski regarding Uber and
                    Patent Nos. 8,836,922 (“the               formation of Otto. Waymo further identifies the subjects of Mr.
                    ’922 patent”), 9,285,464 (“the            Droz’s prior declarations submitted in this matter, Dkt. 25-31,
                    ’464 patent”), 9,368,936 (“the            453-3 as subject he may testify about as well as the Rule 30(b)(6)
                    ’936 patent”), and 9,086,273 (“the        topics for which he was designated as Waymo’s corporate              FRCP 26(a)(1) & 37(c)(1)
 Pierre-Yves Droz   ’273 patent”).                            witness.                                                             FRE 602

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      Witness       Subject of Initial Disclosure                            Subject of Trial Testimony                                 Objections

                                                         Mr. Gardner will be asked to provide noncumulative testimony
                                                         regarding Ottomotto and Otto Trucking; the Uber-Otto
                                                         acquisition; Mr. Levandowski’s businesses; the Stroz due
                                                         diligence analysis, investigation, and report; the misappropriation
                Matters that concern misappropriation    of Waymo trade secrets; destruction of relevant evidence; and         FRCP 26(a)(1) & 37(c)(1)
 John Gardner   of trade secrets.                        Tyto LiDAR.                                                           FRE 403
                Matters that concern misappropriation    Mr. Gruver will be asked to provide noncumulative testimony
                of trade secrets and patent              regarding Defendants’ misappropriation of Waymo’s trade
                infringement by Defendants;              secrets, including their acquisition, use and disclosure, and the
                conception, reduction to practice, and   lack of independent development; and the development of
                patenting of the inventions of the       Waymo’s self-driving car technology, including its LIDAR              FRCP 26(a)(1) & 37(c)(1)
 Dan Gruver     ’922, ’464, and ’273 patents.            designs.

                                                         Mr. Gurley will be asked to provide noncumulative testimony
                                                         regarding Uber’s acquisition of Otto; board meetings,
                                                         discussions, and knowledge concerning the Otto acquisition
                                                         including Mr. Kalanick and others’ representations; facts
                                                         surrounding Mr. Kalanick and board discussions concerning his
                                                         termination; negotiations with Mr. Kalanick concerning the Otto
                                                         acquisition and his resignation; Stroz due diligence report; and
                                                         representations made by Mr. Kalanick regarding the Stroz report       FRCP 26(a)(1) & 37(c)(1)
                                                         and Otto acquisition; and Benchmark’s claim that Mr. Kalanick         FRE 402
                                                         committed fraud and breached his fiduciary duty with respect          FRE 403
 Bill Gurley    Not Disclosed                            to the Otto acquisition.                                              MIL 24

                                                         Mr. Henley will be asked to provide noncumulative testimony           FRCP 26(a)(1) & 37(c)(1)
                                                         regarding the allegations made by Richard Jacobs, including the       FRE 402
                                                         use of ephemeral communications, non-attributable devices, and        FRE 403
                                                         improper privilege designations to avoid discovery; Uber’s            Defendants’ Response to
                                                         investigation into the Jacobs allegations and settlement with         Waymo’s Offer of Proof re
 Mat Henley     Not Disclosed                            Jacobs; and Uber’s competitive intelligence efforts and practices.    Jacobs Allegations




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     Witness           Subject of Initial Disclosure                           Subject of Trial Testimony                                Objections

                                                           Mr. Holden will be asked to provide noncumulative testimony
                                                           regarding the state of Uber’s autonomous vehicle program before
                                                           the Otto acquisition; negotiations with Mr. Levandowski
                                                           regarding the acquisition; Mr. Levandowski’s consulting work;
                                                           facts surrounding Mr. Levandowski’s continued employment
                   Matters that concern misappropriation   with Uber and termination; and Defendants’ misappropriation of       FRCP 26(a)(1) & 37(c)(1)
 Jeff Holden       of trade secrets.                       Waymo’s trade secrets.

                                                           Mr. Jacobs will be asked to provide noncumulative testimony          FRCP 26(a)(1) & 37(c)(1)
                                                           regarding the allegations he made and Uber’ s reactions thereto,     FRE 402
                                                           including the use of ephemeral communications, non-attributable      FRE 403
                                                           devices, and improper privilege designations to avoid discovery,     Defendants’ Response to
                                                           and Uber’s competitive intelligence efforts and practices; Jacobs’   Waymo’s Offer of Proof re
 Richard Jacobs    Not Disclosed                           settlement with Uber, and consulting services provided to Uber.      Jacobs Allegations

                                                           Mr. Kalanick will be asked to provide non-cumulative testimony
                                                           regarding Uber’s driverless car program; Uber’s solicitation of
                                                           Google and Waymo employees; discussions with, knowledge
                                                           about, Levandowksi, discussions with the Board and Benchmark
                                                           partners concerning the Otto acquisition, Mr. Levandowski, and
                                                           the relationship between the facts surrounding this case and his
                                                           termination; negotiations with Mr. Levandowski regarding the
                                                           founding of Ottomotto and Otto Trucking, and Otto acquisition;
                                                           the Uber-Otto acquisition; solicitation of Google/Waymo
                                                           employees; the Stroz due diligence analysis, investigation, and
                                                           report; Uber’s knowledge of stolen documents, understanding,         FRCP 26(a)(1) & 37(c)(1)
                                                           and activity related to misappropriation of Google/Waymo trade       FRE 402
                                                           secret and proprietary information; Levandowski’s employment         FRE 403
                                                           and continued employment at Uber; and destruction of relevant        MIL 24
                   Matters that concern misappropriation   evidence; and allegations made by Richard Jacobs, Uber’s             Defendants’ Response to
                   of trade secrets and patent             investigation into the Jacobs allegations and settlement with        Waymo’s Offer of Proof re
 Travis Kalanick   infringement by Defendants.             Jacobs.                                                              Jacobs Allegations




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     Witness           Subject of Initial Disclosure                            Subject of Trial Testimony                               Objections

                                                             Mr. Krafcik will provide non-cumulative testimony regarding
                                                             Waymo’s business; Anthony Levandowski, and his departure
                                                             from Google; the relationship between Waymo and Google; and
                                                             Waymo’s development of its TaaS service, and valuations of         FRCP 26(a)(1) & 37(c)(1)
 John Krafcik      Not Disclosed                             Chauffeur.                                                         FRE 602

                                                             Mr. Levandowski will be asked to provide non-cumulative
                                                             testimony regarding the development of Waymo’s self-driving
                                                             car technology, including its LIDAR designs and the
                                                             development of Waymo’s trade secrets, engineering practices of
                                                             Waymo and the LIDAR team regarding the confidentiality of its
                                                             designs and measures to keep them secret, his performance at
                                                             Waymo, the contents of Waymo’s SVN server, and
                                                             communications with Google employees regarding Uber and
                                                             formation of Otto; Uber’s driverless car program; Uber’s
                                                             solicitation of Google and Waymo employees; the relationship
                                                             between the facts surrounding this case and his termination;
                                                             negotiations regarding the founding of Ottomotto and Otto
                                                             Trucking, and Otto acquisition; the Uber-Otto acquisition; the
                                                             Stroz due diligence analysis, investigation, and report; Uber’s
                                                             knowledge of stolen documents, understanding, and activity
                   Matters that concern misappropriation     related to misappropriation of Google/Waymo trade secret and
                   of trade secrets and patent               proprietary information; Levandowski’s employment and
                   infringement by Defendants;               continued employment at Uber; and destruction of relevant
                   conception, reduction to practice, and    evidence. Waymo further identifies those subjects identified in    FRCP 26(a)(1) & 37(c)(1)
 Anthony           patenting of the inventions of the ’922   Waymo’s Statement Regarding Questions it Intends to Ask            FRE 402
 Levandowski       and ’464 patents                          Anthony Levandowski at Trial. Dkt. 835.                            FRE 403

                                                             Mr. McClendon will be asked to provide non-cumulative
                                                             testimony regarding solicitation of and negotiations with
                                                             Levandowski regarding founding Ottomotto and Otto Trucking;
                                                             and the Uber-Otto acquisition, the development of Uber’s self-
                                                             driving technology, including before the Otto acquisition,
                   Matters that concern misappropriation     Defendants’ misappropriation of Waymo’s trade secrets,             FRCP 26(a)(1) & 37(c)(1)
                   of trade secrets and patent               including their acquisition, use and disclosure, and the lack of   FRE 403
 Brian McClendon   infringement by Defendants.               independent development.                                           FRE 402

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     Witness           Subject of Initial Disclosure                            Subject of Trial Testimony                                Objections

                                                            Ms. Padilla will be asked to provide noncumulative testimony
                                                            regarding the Stroz due diligence analysis, investigation, and
                                                            report; Levandowski’s employment and continued employment
                                                            at Uber; the relationship between the facts surrounding this case
                                                            and his termination; and the Uber-Otto acquisition, Defendants’
                                                            misappropriation of Waymo’ s trade secrets, including their          FRCP 26(a)(1) & 37(c)(1)
                                                            acquisition, use and disclosure, and the lack of independent         FRE 403
                                                            development; destruction of relevant evidence; and allegations       Defendants’ Response to
                                                            made by Richard Jacobs, Uber’s investigation into the Jacobs         Waymo’s Offer of Proof re
 Angela Padilla    Not Disclosed                            allegations and settlement with Jacobs.                              Jacobs Allegations
                   Matters that concern misappropriation
                   of trade secrets and patent              Mr. Pennecot will be asked to provide non-cumulative testimony
                   infringement by Defendants;              regarding Defendants’ misappropriation of Waymo’s trade
                   conception, reduction to practice, and   secrets, including their acquisition, use and disclosure, and the
                   patenting of the inventions of the       lack of independent development; the development of Waymo’s
 Gaetan Pennecot   ’922, ’464, and ’273 patents.            self-driving car technology, including its LIDAR designs.            FRCP 26(a)(1) & 37(c)(1)

                                                            Mr. Poetzcher will be asked to provide non-cumulative testimony
                                                            regarding Uber’s negotiations with Mr. Levandowski regarding
                                                            the formation of Ottomotto/Otto Trucking; and the acquisition;
                                                            solicitation of Google/Waymo employees; destruction of relevant
 Cameron           Matters that concern misappropriation    evidence; and the Stroz due diligence analysis investigation, and    FRCP 26(a)(1) & 37(c)(1)
 Poetzscher        of trade secrets                         report.                                                              FRE 403

                                                            Ms. Qi will be asked to provide noncumulative testimony
                                                            regarding Uber’s decision to acquire Ottomotto (and to enter into
                                                            an option to acquire Otto Trucking); contacts between Uber and
                                                            Mr. Levandowski regarding the formation of Ottomotto / Otto
                                                            Trucking, Uber’s acquisition of those entities, and the benefits
                                                            that Uber would obtain via those acquisitions; Uber’s solicitation
                                                            of Google/Waymo employees; and Uber’s internal views on
                   Matters that concern misappropriation    those subjects, destruction of relevant evidence; and the Stroz      FRCP 26(a)(1) & 37(c)(1)
 Nina Qi           of trade secrets.                        due diligence analysis, investigation, and report.                   FRE 403




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      Witness       Subject of Initial Disclosure                           Subject of Trial Testimony                                Objections

                                                        Mr. Ron will be asked to provide noncumulative testimony
                                                        regarding the misappropriation of Waymo trade secrets; founding
                                                        of Ottomotto and Otto Trucking; the Uber-Otto acquisition; the
                                                        Stroz due diligence analysis, investigation, and report; and the
                                                        business and product development of Ottomotto and Otto               FRCP 26(a)(1) & 37(c)(1)
                                                        Trucking, destruction of relevant evidence; Uber ATG’s use of        FRE 402
                                                        ephemeral communications and nonattributable devices and its         FRE 403
                Matters that concern misappropriation   relationship with Uber’s Threat Operations division; and             Defendants’ Response to
                of trade secrets and patent             allegations made by Richard Jacobs, Uber’s investigation into the    Waymo’s Offer of Proof re
 Lior Ron       infringement by Defendants.             Jacobs allegations and settlement with Jacobs.                       Jacobs Allegations
                                                                                                                             FRCP 26(a)(1) & 37(c)(1)
                                                        Mr. Spiegler will be asked to provide non-cumulative testimony       FRE 402
                                                        regarding the Richard Jacobs letter and resignation email and        FRE 403
                                                        allegations therein, investigation into Jacobs’ allegations, and     Defendants’ Response to
                                                        settlement with Jacobs; and Uber management’s lack of                Waymo’s Offer of Proof re
 Joe Spiegler   Not Disclosed                           deference to the legal department or legal advice.                   Jacobs Allegations
                                                                                                                             FRCP 26(a)(1) & 37(c)(1)
                                                        Mr. Suhr will be asked to provide noncumulative testimony            FRE 402
                                                        regarding the Stroz due diligence analysis, investigation, and       FRE 403
                                                        report; and allegations made by Richard Jacobs, Uber’s               Defendants’ Response to
                                                        investigation into the Jacobs allegations and settlement with        Waymo’s Offer of Proof re
 Justin Suhr    Not Disclosed                           Jacobs.                                                              Jacobs Allegations


                                                        Mr. Tate will be asked to provide noncumulative testimony            FRCP 26(a)(1) & 37(c)(1)
                                                        regarding the Uber- Otto acquisition; the Stroz due diligence        FRE 402
                                                        analysis, investigation, and report; and destruction of relevant     FRE 403
                                                        evidence; Uber’s counsel’s awareness of the Jacobs resignation       Defendants’ Response to
                Matters that concern misappropriation   email and letter and allegations therein; and Uber’s investigation   Waymo’s Offer of Proof re
 Eric Tate      of trade secrets                        into the Jacobs allegations and settlement with Jacobs.              Jacobs Allegations




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     Witness            Subject of Initial Disclosure                           Subject of Trial Testimony                                  Objections

                                                            Ms. Yoo will be asked to provide noncumulative testimony
                                                            regarding the Uber-Otto acquisition; the Stroz due diligence
                                                            analysis investigation, and report; continued employment and
                                                            termination of Anthony Levandowski; and Defendants                     FRCP 26(a)(1) & 37(c)(1)
                                                            misappropriation of Waymo’s trade secrets, destruction of              FRE 402
                                                            relevant evidence; the Richard Jacobs letter and resignation email     FRE 403
                                                            and allegations therein, investigation into Jacobs’ allegations, and   Defendants’ Response to
                    Matters that concern misappropriation   settlement with Jacobs; and Uber management’s lack of                  Waymo’s Offer of Proof re
 Salle Yoo          of trade secrets                        deference to the legal department or legal advice.                     Jacobs Allegations
                                                            Mr. Zbrozek will provide non-cumulative testimony concerning
                                                            Google/Waymo’s forensic investigation, particularly the SVN
                                                            server and related log data, including Mr. Levandowski’s
                                                            download of the 14,000 files from the SVN server;
                                                            Google/Waymo’s reasonable efforts to maintain the secrecy of its
                                                            electronic systems, digital document storage repositories, and
                                                            computer networks.                                                     FRCP 26(a)(1) & 37(c)(1)
 Sasha Zbrozek      Not Disclosed                                                                                                  FRE 602
                                                                        May Call List
                                                                                                                                   FRCP 26(a)(1) & 37(c)(1)
                                                            Matters that concern the allegations made by Richard                   FRE 402
                                                            Jacobs, and Uber’s reactions thereto, including the use of             FRE 403
                                                            ephemeral communications, non-attributable devices, and                Defendants’ Response to
                                                            improper privilege designations to avoid discovery, and Uber’s         Waymo’s Offer of Proof re
 Rey Allie          Not Disclosed                           competitive intelligence efforts and practices.                        Jacobs Allegations
                                                            Ms. Bailey will provide noncumulative testimony regarding the
                                                            Chauffeur Bonus Plan; Mr. Levandowski’s departure from
                                                            Google, including Google’s collection of Levandowski’s laptops
                                                            and delivery of those laptops to the Google forensics team; and        FRCP 26(a)(1) & 37(c)(1)
 Chelsea Bailey     Not Disclosed                           Mr. Levandowski’s performance as a Google/Waymo employee
                                                            Mr. Bellanger will provide non-cumulative testimony concerning
                                                            Google/Waymo’s forensic investigation into the activities of
                                                            Anthony Levandowski, including Google’s collection of
                                                            Levandowski’s laptops and delivery of those laptops to the             FRCP 26(a)(1) & 37(c)(1)
 Travis Bellanger   Not Disclosed                           Google forensics team

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     Witness           Subject of Initial Disclosure                           Subject of Trial Testimony                                Objections
                                                           Mr. Bentley will be asked to provide non-cumulative testimony
                                                           regarding the Uber-Otto acquisition; the Stroz due diligence
                   Matters that concern misappropriation   analysis, investigation, and report; and destruction of relevant
 Adam Bentley      of trade secrets                        evidence.                                                           FRE 403

 Matthew                                                   Mr. Blattmachr will be asked to provide non-cumulative
 Blattmachr        Not Disclosed                           testimony regarding the ownership of Levandowski’s companies        FRCP 26(a)(1) & 37(c)(1)

                                                           Mr. Burnette will be asked to provide non-cumulative testimony
                                                           concerning Defendants misappropriation of Waymo’s trade
                                                           secrets, including their acquisition, use and disclosure, and the
                                                           lack of independent development; the development of Waymo’s
                   Matters that concern misappropriation   self-driving car technology, including its LIDAR designs and        FRCP 26(a)(1) & 37(c)(1)
                   of trade secrets and patent             planner software; due diligence by Stroz for Otto acquisition by    FRE 403
 Don Burnette      infringement by Defendants.             Uber; and destruction of relevant evidence.                         10/26/2017 Hr’g Tr. at 40.

                                                           Mr. Chatterjee will be asked to provide non-cumulative
                                                           testimony regarding Goodwin Procter’s possession of
                                                           misappropriated materials; destruction of relevant evidence;        FRCP 26(a)(1) & 37(c)(1)
                                                           chain of custody of Anthony Levandowski’s personal laptops,         FRE 403
 Neel Chatterjee   Not Disclosed                           and searches thereof.
                                                           Mr. Dwyer will provide noncumulative testimony regarding
                                                           inputs to Waymo’s current P&L. He may also provide testimony        FRCP 26(a)(1) & 37(c)(1)
 Gerard Dwyer      Not Disclosed                           regarding Waymo’s current business plan.

                                                           Mr. Gicinto will be asked to provide non-cumulative testimony       FRCP 26(a)(1) & 37(c)(1)
                                                           regarding the allegations made by Richard Jacobs, including the     FRE 402
                                                           use of ephemeral communications, non-attributable devices, and      FRE 403
                                                           designations to avoid discovery, and Uber’s competitive             Defendants’ Response to
                                                           intelligence efforts and practices; and Uber’s investigation into   Waymo’s Offer of Proof re
 Nick Gicinto      Not Disclosed                           the Jacobs allegations and settlement with Jacobs.                  Jacobs Allegations




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     Witness           Subject of Initial Disclosure                       Subject of Trial Testimony                                 Objections

                                                       Mr. Gonzalez will be asked to provide non-cumulative testimony
                                                       regarding MoFo’s possession of misappropriated materials;
                                                       destruction of relevant evidence; and Defendants’ knowledge of        FRCP 26(a)(1) & 37(c)(1)
                                                       same; Uber’s counsel’s awareness of the Jacobs resignation email      FRE 403
                                                       and letter and allegations therein; and Uber’s investigation into     FRE 402
                                                       the Jacobs allegations and settlement with Jacobs. As Waymo           FRE 602
                                                       previously advised Uber, Waymo does not intend to call Mr.            Defendants’ Response to
                                                       Gonzalez as a witness unless Defendants open the door by              Waymo’s Offer of Proof re
 Arturo Gonzalez   Not Disclosed                       claiming that they complied with their discovery obligations.         Jacobs Allegations

                                                       Mr. Gudjonsson will provide noncumulative
                                                       testimony concerning Google/Waymo’s forensic investigation
                                                       into misappropriation of trade secrets, particularly analysis of
                                                       hardware; Google/Waymo’s reasonable efforts to maintain the
                                                       secrecy of its electronic systems, digital document storage           FRCP 26(a)(1) & 37(c)(1)
 Kristin                                               repositories, and computer networks, including but not limited to     FRE 602
 Gudjonsson        Not Disclosed                       the SVN server.                                                       FRE 702

                                                       Mr. Harrison will provide noncumulative testimony regarding
                                                       Google’s mergers and acquisitions, including the negotiation and
                                                       drafting of Google’s merger and acquisition agreements, the
 Don Harrison      Not Disclosed                       process of conducting valuations, and Waymo’s valuations.             FRCP 26(a)(1) & 37(c)(1)
                                                       Ms. Haroon will provide noncumulative testimony regarding
                                                       details of Waymo’s first P&L, the negotiation of the valuation
                                                       used in connection with the Chauffeur Business Plan, the timing
                                                       of payments made under the Chauffeur Business Plan, and the
                                                       409(a) valuation conducted when Waymo was spun off from
                                                       Google. Ms. Haroon may also provide testimony regarding the
                                                       evolution of Waymo’s business plan over time. Waymo further
                                                       identifies the subjects of the Rule 30(b)(6) topic(s) for which she   FRCP 26(a)(1) & 37(c)(1)
 Jennifer Haroon   Not Disclosed                       was designated as Waymo’s corporate witness.                          FRE 602




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     Witness           Subject of Initial Disclosure                           Subject of Trial Testimony                                  Objections
                                                                                                                                 FRCP 26(a)(1) & 37(c)(1)
                                                                                                                                 FRE 402
                                                           Mr. Johnston will provide noncumulative testimony regarding the       FRE 403
                                                           use of Google Hangouts and related proprietary chat applications,     Defendants’ Response to
                                                           including Google and Waymo’s own use of and default settings          Waymo’s Offer of Proof re
 Scott Johnston    Not Disclosed                           for such applications.                                                Jacobs Allegations


                                                           Mr. Kim will be asked to provide noncumulative testimony
                                                           regarding the Uber-Otto acquisition; the Stroz due diligence
                   Matters that concern misappropriation   analysis, investigation, and report; and destruction of relevant
 Rudy Kim          of trade secrets.                       evidence.                                                             FRE 403

                                                           Mr. Linaval will be asked to provide non-cumulative testimony
                                                           concerning Defendants misappropriation of Waymo’s trade
                   Matters that concern misappropriation   secrets, including their acquisition, use and disclosure, and the
                   of trade secrets and patent             lack of independent development; the development of Waymo’s           FRCP 26(a)(1) & 37(c)(1)
 Asheem Linaval    infringement by Defendants.             self-driving car technology, including its LIDAR designs.

                                                           Mr. Lawee will provide noncumulative testimony regarding
                                                           Google’s mergers and acquisitions, including the negotiation and
                                                           drafting of Google’s merger and acquisition agreements, the
                                                           process of conducting valuations, Waymo’s valuations, and the
                                                           Chauffeur Bonus Plan. Waymo further identifies the subjects of
                                                           the Rule 30(b)(6) topic(s) for which he was designated as             FRCP 26(a)(1) & 37(c)(1)
 David Lawee       Not Disclosed                           Waymo’s corporate witness.                                            FRE 602

                                                           Mr. Levandowski will be asked to provide noncumulative
                                                           testimony concerning Defendants misappropriation of Waymo’s
                                                           trade secrets, including their acquisition, use and disclosure, and
                   Matters that concern misappropriation   the lack of independent development; the development of
                   of trade secrets and patent             Waymo’s self-driving car technology, including its LIDAR
 Max Levandowski   infringement by Defendants              designs.                                                              10/26/2017 Hr’g at 13:9-14




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     Witness         Subject of Initial Disclosure                           Subject of Trial Testimony                                Objections

                                                         Ms. Morgan will be asked to provide noncumulative testimony
                                                         regarding the founding and business of Ottomotto and Otto
                                                         Trucking; Uber’s acquisition of Otto; and the Stroz due diligence
                 Matters that concern misappropriation   analysis, investigation, report; Defendants misappropriation of
 Rhian Morgan    of trade secrets.                       Waymo’s trade secrets, destruction of relevant evidence.            FRCP 26(a)(1) & 37(c)(1)

                                                         Mr. Nocon will be asked to provide non-cumulative testimony
                                                         regarding the allegations made by Richard Jacobs, including the     FRCP 26(a)(1) & 37(c)(1)
                                                         use of ephemeral communications, non-attributable devices, and      FRE 402
                                                         improper privilege designations to avoid discovery, and Uber’s      FRE 403
                                                         competitive intelligence efforts and practices; and Uber’s          Defendants’ Response to
                                                         investigation into the Jacobs allegations and settlement with       Waymo’s Offer of Proof re
 Jake Nocon      Not Disclosed                           Jacobs.                                                             Jacobs Allegations

                                                         Mr. Ratner will be asked to provide non-cumulative testimony
                                                         concerning Defendants misappropriation of Waymo’s trade
                                                         secrets, including their acquisition, use and disclosure, and the
                                                         lack of independent development; the development of Waymo’s
 Daniel Ratner   Not Disclosed                           self-driving car technology, including its LIDAR designs.           10/26/2017 Hr’g at 13:9-14

                                                         Mr. Russo will be asked to provide non-cumulative testimony
                                                         concerning the allegations made by Richard Jacobs, including the    FRCP 26(a)(1) & 37(c)(1)
                                                         use of ephemeral communications, non-attributable devices, and      FRE 402
                                                         improper privilege designations to avoid discovery, and Uber’s      FRE 403
                                                         competitive intelligence efforts and practices; and Uber’s          Defendants’ Response to
                                                         investigation into the Jacobs allegations and settlement with       Waymo’s Offer of Proof re
 Ed Russo        Not Disclosed                           Jacobs.                                                             Jacobs Allegations
                 Matters that concern the development
                 and operation of Waymo’s self-          Mr. Salesky will provide non-cumulative testimony regarding the
                 driving cars and autonomous vehicle     history of Google/Waymo’s self-driving-car development efforts;
                 technology; matters that concern        Mr. Levandowski’s performance as a Google/Waymo employee;
                 misappropriation of trade secrets by    certain of Mr. Levandowski’s communications with Uber prior to
 Bryan Salesky   Defendants.                             his departure from Google/Waymo                                     FRCP 26(a)(1) & 37(c)(1)




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      Witness       Subject of Initial Disclosure                            Subject of Trial Testimony                                 Objections

                                                         Mr. Stojanovski will be asked to provide non-cumulative
                                                         testimony regarding Defendants misappropriation of Waymo’s
                                                         trade secrets, including their acquisition, use and disclosure, and
                                                         the lack of independent development; regarding Tyto LiDAR and
                                                         Otto’s acquisition of Tyto; regarding communications with Mr.
 Ognen          Matters that concern misappropriation    Levandowski regarding Tyto LIDAR and other businesses related
 Stojanovski    of trade secrets                         to Mr. Levandowski.                                                   FRCP 26(a)(1) & 37(c)(1)

                                                         Mr. Sullivan will be asked to provide non-cumulative testimony
                                                         regarding the allegations made by Richard Jacobs, including the       FRCP 26(a)(1) & 37(c)(1)
                                                         use of ephemeral communications, non-attributable devices, and        FRE 402
                                                         improper privilege designations to avoid discovery, and Uber’s        FRE 403
                                                         competitive intelligence efforts and practices; and Uber’s            Defendants’ Response to
                                                         investigation into the Jacobs allegations and settlement with         Waymo’s Offer of Proof re
 Joe Sullivan   Not Disclosed                            Jacobs.                                                               Jacobs Allegations

                Matters that concern the development     Mr. Urmson will provide non-cumulative testimony regarding the
                and operation of Waymo’s self-           history and development of Waymo’s self-driving car
                driving cars and autonomous vehicle      technology, including its LIDAR designs; Mr. Levandowski’s
                technology, including LiDAR; matters     performance at Google and circumstances surrounding his
                that concern misappropriation of trade   termination from Google; Chauffeur Bonus Plan; Waymo
 Chris Urmson   secrets by Defendants.                   valuation(s).                                                         FRCP 26(a)(1) & 37(c)(1)




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